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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




ELIZABETH GASS and DEBORAH
DEJONGE,

              Plaintiffs,
                                                         File No. 1:05-CV-856
v.
                                                         HON. ROBERT HOLMES BELL
MARRIOTT HOTEL SERVICES, INC.,
and ECOLAB INC.,

              Defendants.
                                             /

                                       OPINION

       This matter is before the Court on a motion for taxation of costs filed by Defendants

Marriott Hotel Services, Inc. and Ecolab, Inc. Defendants move for taxation of $41,353.50

in attorney fees and $3,752.31 in costs actually incurred due to Plaintiffs Elizabeth Gass and

Deborah DeJonge's rejection of unanimous case evaluations.

       This diversity action was referred to mandatory case evaluation pursuant to the

Michigan Mediation Act, M.C.L. §§ 600.4951-.4969 and W.D. Mich. LCivR

16.5(b)(i)(F)(1). (Docket # 12). The referral order provided in pertinent part:

       The provisions of the Mediation Act concerning the taxation of costs,
       including actual attorney fees, apply to any party rejecting a unanimous case
       evaluation. Mich. Comp. Laws § 600.4969.

(Docket # 12, ¶ 11). Under the Mediation Act, if a plaintiff has rejected a unanimous case

evaluation award, and if the verdict is more favorable to the defendant than the evaluation,
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then, even if the defendant has also rejected the evaluation, the plaintiff must pay the

defendant's actual costs, including a reasonable attorney fee, for services necessitated by the

rejection of the evaluation. M.C.L. § 600.4969;1 see also M.C.R. § 2.403(O).

       The case evaluation hearing was held on January 17, 2007, and resulted in unanimous

case evaluation awards of $25,000.00 for each plaintiff. All parties rejected the case

evaluation by failing to file a response before the expiration of the response period on

February 14, 2007. On May 8, 2007, the Court granted Defendants' motion for summary

judgment and entered a judgment in their favor. (Docket # 72). Plaintiffs' motion for

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           The statute reads as follows:

       (1) If a party has rejected an evaluation and the action proceeds to trial, that
       party shall pay the opposing party's actual costs unless the verdict is more
       favorable to the rejecting party than the mediation evaluation. However, if the
       opposing party has also rejected the evaluation, that party is entitled to costs
       only if the verdict is more favorable to that party than the mediation
       evaluation.

       (2) For the purpose of subsection (1), a verdict shall be adjusted by adding to
       it assessable costs and interest on the amount of the verdict from the filing of
       the complaint to the date of the mediation evaluation. After this adjustment,
       the verdict is considered more favorable to a defendant if it is more than 10%
       below the evaluation, and is considered more favorable to the plaintiff if it is
       more than 10% above the evaluation.

       (3) For the purpose of this section, actual costs include those costs taxable in
       any civil action and a reasonable attorney fee as determined by the trial judge
       for services necessitated by the rejection of the mediation evaluation.

       (4) Costs shall not be awarded if the mediation award was not unanimous.

M.C.L. § 600.4969.


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reconsideration was denied by order dated May 24, 2007. (Docket # 75). Defendants have

requested an order awarding them $41,353.50 in attorney fees and $3,752.31 in costs actually

incurred from the date of Plaintiffs' rejection of the case evaluation until May 21, 2007.

       Plaintiffs have raised several objections to Defendants' request for taxation of costs.

Plaintiffs note that where, as here, the verdict is the result of a ruling on a motion after

rejection of the case evaluation, Michigan Court Rules provide that "the court may, in the

interest of justice, refuse to award actual costs." M.C.R. 2.403(O)(11). Plaintiffs suggest

that the Court should exercise its discretion and not award any costs in light of the facts and

circumstances of this case.

       Subsection 11 is "an exception to the mandatory rule" that a party who rejects a case

evaluation must pay the prevailing party's actual costs. Haliw v. City of Sterling Heights, 266

Mich. App. 444, 447, 702 N.W.2d 637, 639 (2005). To invoke the interest of justice

exception to this mandatory rule the court must find it is "in the interest of justice" to do so.

Id. Although the term "interest of justice" is not defined in the statute, courts have applied

it to unusual circumstances, such as where the law is unsettled, or the prevailing party has

engaged in misconduct. Id. at 448-49.

       Other than their vague reference to unspecified "facts and circumstances" of the case,

Plaintiffs' have not identified how declining to award costs would be in the interest of justice.

This is not a case where the dispositive motion raised unexpected issues that Plaintiffs could

not have anticipated before rejecting the case evaluation. Defendants' motion for summary



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judgment had been pending for a month before Plaintiffs rejected the case evaluation.

Plaintiffs had ample time to factor in the ramifications of a summary judgment ruling in

Defendants' favor when they rejected the case evaluation. Invoking the "interest of justice"

exception in this case is not appropriate because to do so would make the mandatory

sanctions meaningless. The Court accordingly declines Plaintiffs' request that the Court

refuse to award costs in this case.

       Plaintiffs have argued in the alternative that if the Court awards costs, certain time

entries in Defendants' request for taxation of costs should be disallowed because they were

not reasonable.

       Although Plaintiffs have not raised the issue, the Court finds that it would not be

proper to tax attorney fees for February 14, 2007, because Plaintiffs had until the close of that

day to file their response to the case evaluation award. The Court will accordingly subtract

$1,588.50 from the requested fees for time entries dated February 14, 2007.

       Plaintiffs contend that time attributable to Defendants' untimely motion to compel

discovery, Plaintiffs' motion to compel discovery, and the court-ordered Medeiros'

deposition, should be disallowed because they were not reasonably necessitated by Plaintiffs'

rejection of the case evaluation. The Court agrees that these are matters that should have

been addressed before discovery closed in December 2006. The Court will accordingly

subtract an additional $9,837.00 from the requested fees for time entries attributable to these

discovery matters.



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       However, the Court disagrees with Plaintiffs' assertion that only attorney fees directly

relating to the motion for summary judgment are recoverable. Time entries attributable to

Defendants' motion to strike Plaintiffs' expert witnesses and motion to strike affidavit and

other inadmissible exhibits were related to both the summary judgment motion and to trial

preparation. Time entries attributable to reviewing Plaintiffs' medical and financial records

and working with Defendants' own expert witnesses, were all related to trial preparation.

With respect to Plaintiffs' objections to the March 12 and March 16 entries regarding a case

evaluation summary, it appears to the Court that these entries pertain to an internal summary

for trial preparation purposes rather than a summary for the case evaluation that took place

in January 2007. Contrary to Plaintiffs' contentions, Defendants were not required to cease

working on the file while they awaited the Court's ruling on their motion for summary

judgment. The jury trial was scheduled to begin on July 16, 2007. It was not unreasonable

for Defendants to proceed with trial preparation pending a ruling on their summary judgment

motion. Defendants could not anticipate the outcome of the motion, and they reasonably

believed that if their motion was denied a trial would be a certainty given Plaintiffs' failure

to reduce their high settlement demand even after the very modest case evaluation award.

       Defendants have documented total attorney fees in the amount of $41,353.50 and

costs in the amount of $3,751.31. The Court finds that all of the attorney fees and costs

requested by Defendants were for services necessitated by Plaintiffs' rejection of the case

evaluation with the exception of the $1,588.50 attributable to work prior to the expiration of



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the case evaluation response period and the $9,837.00 in attorney fees attributable to late

discovery. The Court will accordingly enter an award in favor of Defendants for fees and

costs in the total amount of $33,679.31.

        An order consistent with this opinion will be entered.


Date:       August 10, 2007                /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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